          Case 2:24-cv-00749-GMS Document 38 Filed 06/25/24 Page 1 of 5




                        UNITED STATES DISTRICT COURT FOR THE
                                 DISTRICT OF ARIZONA


EPA USA Inc.,                                     C.A. No. CV-24-00749-PHX-GMS

Plaintiff(s),

                        v

Kamil Knap,

Defendant(s)




                 KAMIL KNAP'S MEMORANDUM OF LAW IN OPPOSITION

                  TO MOTION FOR EXPEDITED ORDER TO SHOW CAUSE



         By and through counsel, Kamil Knap respectfully submits this Opposition to Motion for

Order to Show Cause. For all the reasons set forth herein, Kamil Knap respectfully requests the

Court deny EPA USA Inc.’s Motion at this time.


    I.          INTRODUCTION

                The Court entered an Order for Preliminary Injunction on May 29, 2024. The Order

    required the defendant to provide plaintiffs with any items in defendant’s custody or control

    that pertained to EPA USA Inc. The list of items is identical to those requested of the

    defendant in a letter from plaintiffs on May 15, 2024. See, Exhibit 1.




                                                 1
       Case 2:24-cv-00749-GMS Document 38 Filed 06/25/24 Page 2 of 5




II.      FACTUAL BACKGROUND

         Per the declaration of the non-moving party, Kamil Knap, the amount of

information required is thousands of files, and as of very recently has been substantially and

complied with.


III.     LEGAL STANDARDS

         Courts possess "inherent power to enforce compliance with their lawful orders

through civil contempt." See, Shillitani v. United States, 384 U.S. 364, 370, 86 S. Ct. 1531,

16 L. Ed. 2d 622 (1966) (citation omitted). The purpose of civil contempt is "to coerce the

defendant into compliance with the court's order, and to compensate the complainant for

losses sustained." See, United States v. United Mine Workers of Am., 330 U.S. 258, 303-04,

67 S. Ct. 677, 91 L. Ed. 884 (1947)

         The party seeking a contempt order must establish by clear and convincing evidence

that (1) a court order existed that the adversary was aware of, and (2) the adversary violated

the order's terms. See, NLRB v. Cincinnati Bronze, Inc., 829 F.2d 585, 591 (6th Cir. 1987).

Once it is clearly established that a litigant knowingly violated a court order, the litigant is

guilty of civil contempt unless he shows that he was unable to comply with the order. See,

United States v. Rylander, 460 U.S. 752, 757, 103 S. Ct. 1548, 75 L. Ed. 2d 521 (1983). See,

United States v. Kelly, 2024 U.S. Dist. LEXIS 1168. If the Court finds that the defendant did

indeed violate the order, the purpose of civil contempt proceedings is to compel compliance

with the court's order and potentially to compensate the complainant for losses sustained due

to non-compliance. This is not intended as a punitive measure but rather to ensure adherence

to judicial directives. See, Id.



                                               2
           Case 2:24-cv-00749-GMS Document 38 Filed 06/25/24 Page 3 of 5




               Monetary fines payable to the court and incarceration are appropriate sanctions for

    civil contempt. See, United States v. Bayshore Assocs., Inc., 934 F.2d 1391, 1400-01 (6th

    Cir. 1991). When considering the amount of a contempt fine, courts should "consider the

    amount of the defendant's financial resources and the consequent seriousness of the burden to

    that particular defendant." Mine Workers, 330 U.S. at 304. A daily fine that terminates once

    the contemnor complies with the original order is an appropriate civil fine, whereas a "flat,

    unconditional fine" may be seen as a criminal contempt sanction. See, Downey v. Clauder, 30

    F.3d 681, 685 (6th Cir. 1994). A defendant can avoid paying the monetary fine and

    incarceration "by performing the act required by the court's order." Id.

               IV.        ARGUMENT

                 (a) Knap has complied with the Order

               The plaintiff is engaging to “move the goal posts” so to speak on what information

    is covered by the Order. The plaintiff’s May 15 letter provides a voluminous list of materials

    they “expect to be in Mr. Knap’s” control or custody. Moreover, this list is “not exclusive;

    EPA USA may supplement it as the transition continues.” See, Exhibit 1, May 15, 2024,

    letter from plaintiffs’ counsel.

               Knap uploaded the bank account information for Silicon Valley Bank1 and Mercury

    Bank, and listed some ancillary accounts, such as a Wise and Zoom account that he no longer

    has access for, along with other accounts that have been closed for years. See, Exhibit 2,

    screenshots of uploaded bank account information. The defendant, therefore, overproduced



1 In April of 2023, Silicon Valley Bank (SVB) famously required an FDIC bailout through what would be called the

Federal “redemption window,” thereby revaluing bank asset sheet securities.



                                                         3
     Case 2:24-cv-00749-GMS Document 38 Filed 06/25/24 Page 4 of 5




the important bank account information. There was no need to provide closed bank account

information, but he did it to be thorough.

         Further compliance to the Portal included: a full employee list, lease information for

EPA’s building; EPA balance sheets including profit and loss statements; payroll records are

maintained through Zenefits and the login credentials have been provided; of vital

importance are the debt portfolios which were added on June 6, 2024, after conferral with

plaintiff’s counsel on what was still needed according to their assessment. See, Exhibit 3,

screenshot of debt portfolio information.

         Finally, defendant Knap uploaded thousands of documents on June 20, and June 23,

as evidenced by the screenshot. See, Exhibit 4. Knap’s declaration makes clear the amount

of effort that has been put forth in complying with the Court order and moving the case along

fairly. The Defendant, in his Declaration, sets forth in painstaking detail the amount of

information he has already provided to the plaintiffs. Defendant Knap again refutes the

allegation made by the plaintiffs that he is “holding up the business,” so to speak. That is an

allegation that is patently without merit at this point. See, Exhibit 5, Declaration of Kamil

Knap.

           V.      CONCLUSION

         For the foregoing reasons Kamil Knap respectfully requests the Court deny EPA

USA Inc.’s Motion for discovery sanctions on all grounds.




                                             4
        Case 2:24-cv-00749-GMS Document 38 Filed 06/25/24 Page 5 of 5




Dated: June 25, 2024



                                      Respectfully submitted,



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